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IN THE UNITED sTATEs DISTRICT Co gill z/

FoR THE WESTERN DISTRICT oF TE sma ‘ §§
EASTERN DIVISION _ ,, sr 438,. 5
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"£“@ §ch US.D" j Oz/»::»
MICHAEL D. MosBY, ) W J,i@/{§OCF
)
Plainriff, )
)
VS. ) NO. UZ-lZ§O-T/An
)
MICHAEL STRAIN, )
)
Defendant. )

 

ORDER ON MOTION FOR COURT ORDER

 

PlaintiffMichael D. Mosby has filed a motion seeking an order allowing him to have
a family member provide him With civilian clothes to Wear at the trial of this case, Which is
currently scheduled for June 15, 2005. Plaintiff has submitted documentation showing that
prison officials at the West Tennessee State Penitentiary have denied his request to have
civilian clothes sent to the prison prior to his being transported to the federal courthouse

While the Court declines to order the state prison officials to transport plaintiff to the
courthouse in civilian clothes, the Court hereby ORDERS the U.S. Marshals Service to
accept civilian clothes from plaintiff’s family, and to provide those clothesto plaintiff to
wear during the trial of this case. Plaintiff’s family may either ship the clothes, or bring
them personally, to the U. S. Marshals Service office in Jackson, Tennessee, Within five (5)

days before the trial, but no earlier. Plaintiff must promptly inform his family of any

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changes in the trial setting, so that it will not be necessary for the Marshal to retain the

clothes for an extended period of time.

The address for the U.S. Marshals Service office in Jackson is: lll S. Highland

Ave., Suite 214, Jackson, TN 38301.

The Clerk of Court is directed to provide a copy of this order to the U.S. Marshal.

IT IS SO ORDERED.

QQWB'M

JAM `D. ToDD
UNI DSTATES DIsTRiCTJUDGE

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DATE \l

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 114 in
case 1:02-CV-01250 was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

